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       Temporary Receiver
     8
                                    UNITED STATES DISTRICT COURT
     9
                                   CENTRAL DISTRICT OF CALIFORNIA
    10
    11
       SECURITIES AND EXCHANGE                               Case No. CV 10-1689-GW(AJWx)
    12 COMMISSION,
                                                             FIRST INTERIM REPORT OF STEPHEN J.
    13                       Plaintiff,                      DONELL, TEMPORARY RECEIVER

    14              ►~                                       DATE: March 23, 2010
                                                             TIME: 9:00 A.M.
    15 FRANCOIS E. DURMAZ (aka MAHMUT E.                     CTRM: 10
       DURMAZ), ROBERT C. PRIBILSKI, USA
    16 RETIREMENT MANAGEMENT SERVICES
       (aka USA FINANCIAL MANAGEMENT
    17 SERVICES, INC.
    18 ~                     Defendants,

    19              And

    20 SIBEL INCE, MEHMET KARAKUS,
       MARLALI GAYRIMENKUL YATIRIMLARI,
    21 MARLALI PROPERTY INVESTMENT
       COMPANY, LLC, GULEN ENTERPRISES,
    22 INC.,

    23                       Relief Defendants.

    24
    25
    26
    27
    28


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                            FIRST TNTERiM REPORT QF STEPHEN .i. DONELL. TEMPnRARY RECETVER
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     1            Stephen J. Donell, Temporary Receiver ("Receiver") for defendant USA Retirement

     2 Management Services(aka USA Financial Management Services, Inc.)("USA")and all entities

     3 controlled by defendants Francois E. Durmaz("Durmaz")and Robert C. Pribilski ("Pribilski"),

     4 including Marlali Property Investment Company, LLC ("Marlali"), and their subsidiaries and

     5 affiliates (collectively "Receivership Entities"), appointed pursuant to this Court's Temporary

     6 Restraining Order and Orders:(1) Freezing Assets;(2)Appointing a Temporary Receiver;

     7 (3)Prohibiting the Destruction of Documents;(4) Granting Expedited Discovery;(5) Repatriating

     8 Funds;(6)Requiring Surrender ofPassports; and(7)Requiring Accountings; and Order to Show

     9 Cause re Preliminary Injunction and Appointment of a Permanent Receiver ("Appointment

    10 Order"), entered on March 9, 2010, herewith submits this First Interim Report of Receiver

    1 1 ("Report").

    12            Pursuant to the Appointment Order and law governing federal equity receivers, the

    13 Receiver has been charged with, among other things, assuming control over the Receivership

    14 Entities and their assets ("Receivership Assets"); performing an accounting of the assets and

    15 financial condition of the Receivership Entities; investigating, locating, and recovering

    16 Receivership Assets; preparing reports for the Court; and preparing an appropriate claim

    17 allowance and investor/creditor distribution plan. Although the Receiver has successfully

    18 obtained some documents and records from the sources identified below, his document analysis

    19 and recovery efforts remain incomplete. As described more thoroughly in this Report and in the

    20 Project Status Update prepared by Crowe Horvath LLP, the Receiver's forensic accountants, the

    21 documents and records obtained to date provide only a partial explanation of the past and present

    22 financial condition of the Receivership Entities, including the financial transactions and business

    23 in which they engaged.

    24            Due to the volume and nature of the information acquired to date, the shortness of time

    25 since the Receiver's appointment between the receipt of information and this Report, the

    26 complexity ofthe matters analyzed by the Receiver and his professionals, and the need for

    27 significant additional information, this Report is preliminary. The Receiver may need to

    28 materially modify its contents after further investigation and consideration. As discussed below,
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     1 although the Receiver and his professionals have made significant progress in their investigation
     2 and recovery efforts, a great deal of work remains to be done.
     3 I.        PROCEDURAL BACKGROUND.

     4           On March 9, 2010, the United States Securities and Exchange Commission (the

     5 "Commission")filed its Complaint For Violation of Federal Securities Laws("SEC Complaint")
     6 against Defendants Durmaz, Pribilski, and USA, and various Relief Defendants, accompanied by
     7 an Ex Parte Application ofPlaintiff Securities and Exchange Commission for Temporary
     8 Restraining Order: Orders: l) Freezing Assets; 2) Appointing a Temporary Receiver; 3)
     9 Prohibiting the Destruction of Documents; 4)Granting Expedited Discovery; 5) Repatriating
    10 Funds; 6) Requiring Sun-ender of Passports; and 7) Requiring Accountings; and Order to Show
    1 1 Cause re Preliminary Injunction and Appointment of a Permanent Receiver. On March 9, 2010,
    12 this Court issued a Temporary Restraining Order freezing assets and prohibiting the destruction of
    13 documents by the Defendants and Relief Defendants, and issued an Order to Show Cause set for
    14 March 23, 2010. The Court entered the Appointment Order on March 9,2010.

    15            On March 16, 2010, Mark Hathaway entered his appearance in this matter as counsel for

    16 defendant Pribilski. The Receiver is unaware of any other appearances and the Receiver has not
    17 received any opposition to his appointment as Permanent Receiver pursuant to the order to show
    18 cause.
    19 II.        SUA•iMARY OF RECEIVER'S ACTIVITIES AND EFFORTS.

    20            A.       Assertion of Jurisdiction.

    21            The territorial jurisdiction of this Court —and thus ofthe Receiver — is extended to any

    22 district of the United States where Receivership Assets are believed to be located. 28 U.S.C.
    23 § 754; see also Haile v. Henderson Nat'1 Bank,657 F.2d 816, 822(6th Cir. 1981). Based on
    24 information obtained by the Receiver to date, the Receiver has filed the SEC Complaint and
    25 registered the SEC Complaint and Appointment Order in the United States District Court in
    26 Illinois, in conformity with 28 U.S.C. § 754 and applicable federal law. As additional'information
    27 becomes available, the Receiver may file/register the SEC Complaint and Appointment Order in
    28 other districts.
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     1            B.       Em~lovment Of Professionals.

     2           Section VIII(C) of the Appointment Order vests the Receiver with the authority to employ

     3 professionals to assist in his efforts. To date, the Receiver has engaged (i) the law firm of Ervin

     4 Cohen &Jessup, LLP ("ECJ")to serve as Receiver's counsel and assist in the performance of his

     5 duties;(ii) the accounting firm of Crowe Horvath LLP ("Crowe"), to serve as the Receiver's

     6 principal forensic and tax accountant; and (iii) the firm of Document Technologies, Inc. to assist

     7 with computer forensics and imaging. The Receiver anticipates that it may be necessary to utilize

     8 the services of a private investigator in order to assist with further discovery and recovery of

     9 Receivership Assets.

    10            C.       Document Recovery.

    11            As of the date ofthe Appointment Order, the Receivership Entities operated offices in

    12 Oakbrook Terrace, Illinois, Los Angeles, California, and Irvine, California. The Receiver believes

    13 that most of the business documents and financial records relating to the Receivership Entities

    14 were located in the Illinois office. The Receiver is in the process of having a large number of

    15 documents scanned in the Illinois office, as he has been- served with a document subpoena by

    16 government agencies and it is necessary to create the proper chain of custody for all such

    17 documents as well as having access to numerous copies for him and his professionals, as well as to

    18 comply with the subpoena. It is estimated that it will cost in excess of $50,000 to image

    19 documents and hard drives in the Chicago office. Thereafter, the Receiver's administrator will

    20 begin transporting the business documents and financial records in the Illinois office to the

    21 Receiver's office in Los Angeles, California. The Receiver believes that the Los Angeles office

    22 was primarily used to arrange seminars for prospective clients, prepare and maintain estate

    23 planning documents, and the Irvine office was primarily used for the same purpose. As a

    24 consequence, the Receiver has been required to obtain documents and records from three offices,

    25 and other sources, including, but not limited to the following:

    26                      1.       Documents Obtained From the Commission..

    27            On behalf of the Receiver, ECJ requested access to any Receivership Entity documents and

    28 records possessed by the Commission. The Receiver's request was subsequently ganted, and the
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     1 Commission produced copies of Receivership Entity documents to the Receiver shortly thereafter.
     2 The Commission's production was extensive, and included partial bank and brokerage statements
     3 and related documents.
     4                      2.       Documents Requested from Accountants for Receivership Entities.

     5            The Receiver learned that the firm of Mueller &Company,LLP ("Mueller')located in

     6 Elgin, Illinois, served as accountants to the Receivership Entities prior to the Receiver's
     7 appointment. The Receiver requested that Mueller deliver all books and records of the
     8 Receivership Entities in their possession. As of the preparation of this Report Mueller has not yet
     9 delivered any documents to the Receiver, but based on discussions to date, the Receiver expects
    10 that Mueller will fully and completely comply with the Receiver's request.
    l1                      i.       Documents Requested from Sichenzia Ross Friedman. Ference LLP

    12                               ("Sichenzia"~

    13            The Receiver located documents in the Illinois and California offices of the Receivership
    l4 Entities that referred to Cruzar Fund Management Services, LLC ("Cruzar"). The Receiver
    15 believes that Cruzar is either a subsidiary or affiliate of the Receivership Entities and had recently
    16 been formed to serve and a potential investment vehicle for individuals. The Receiver also located

    17 information that the Sichenzia law firm, located in New York, New York, was counsel for Cruzar.

    18 On March 12, 2010, ECJ on the Receiver's behalf prepared and sent a letter to the Managing
    19 Partner of Sichenzia in which he demanded that Sichenzia immediately deliver all documents of
    20 Cruzar in their possession to the Receiver. As of the preparation of this Report Sichenzia has not
    21 responded to ECJ's March 12, 2010 correspondence.
    22                      4.       Receivership Entity Mail Recovery.

    23            Immediately upon his appointment, the Receiver contacted the United States Postal

    24 Service to request that all mail addressed to the Receivership Entities be forwarded to him. The
    25 Postal Service has complied with his request, and is now forwarding Receivership Entity mail

    26 directly to the Receiver.
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     1 III.        INVENTORY OF RECEIVERSHIP ASSETS.

     2~             A.        Frozen Bank Accounts.

     3              The Appointment Order froze the following accounts believed to contain Receivership

     4 Assets:

     5                                                                            Account #(last 4
                          Institution                    Account holder
                                                                                      digits)
     6
                JP Morgan Chase                   Marlali Property Investment   0232
     7
               (WaMu)                             Co., LLC
     8          JP Morgan Chase                   USA Financial Management      0342
                                                  Services
     9
                Harris N.A.                       Marlali Property Investment   9029
    10                                            Co., LLC
    11          Harris N.A.                       Marlali Property Investment   9037
                                                  Co., LLC
    12
                 Harris N.A.                      Marlali Property Investment   9053
    13                                            Co., LLC

    14          Harris N.A.                       Marlali Property Investment   6582
                                                  Co., LLC
    15
                 Harris N.A.                      USA Retirement Management     1048
    16                                            Services
                 Harris N.A.                      USA Financial Management      0247
    17
                                                  Services Inc.
    l8

    19

    20

    21

    22              The Receiver provided each of the above financial institurions with a copy of the

                             followed by a request that the financial institutions turn over to the Receiver
    23 Appointment Order,
           and all funds held in the name of(or controlled by) the Receivership Entities. In response,
    24 any
              N.A.fumed over a total of$111,727.96 to the Receiver. In addition, the Receiver
    25 Harris
                      entity by the name of Bridge Forum, LLC("Bridge") that appeared to be a
    26 discovered an
                     affiliate ofthe Receivership Entities. The Receiver located a bank account of Bridge
    27 subsidiary or
                Bank, and immediately provided HSBC Bank with a copy of the Appointment Order and
    28 at HSBC
                                                                5

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     1 a written request that all funds in accounts of Bridge and the Receivership Entities be delivered to
     2 the Receiver. The Receiver was subsequently informed that the Bridge account at HSBC Bank
     3 contained less than $ 500.00.
     4            Nonetheless, the Receiver expects that it maybe necessary to serve financial institutions

     5 with subpoenas for the production of bank statements, cancelled checks and other documents in

     6 order to assist in reconstructing the Receivership Entities' history and financial activities.
     7           S.        Assets of the Individual Defendants.
     8            The Defendants and Relief Defendants were required by the terms of the Appointment

     9 Order to file detailed and complete schedules of their assets, including all real and personal
    10 property exceeding $5,000 in value, and all bank, securities, futures, and other accounts, identified
    1 1 by institution, branch address, and account number. The accountings were to include a description

    12 of the sources)of all such assets. As of this date, only defendant Pribilski has provided such an
    13 accounting to the Receiver.

    14 IV.        FINANCES AND BUSINESS OPERATIONS OF THE RECEIVERSHIP ENTITIES.

    l5            The Receiver's forensic accountants, Crowe, has performed an initial analysis of the

    16 Receivership Entities documents and records obtained to date, and has prepared an Initial Forensic

    17 Accountant's Report outlining their tentative conclusions regarding the financial condition and

    18 business of the Receivership Entities. A copy of the Crowe initial report, without exhibits, is

    19 attached hereto, marked Exhibit"A" and incorporated herein by reference.

    20            A.       Receivership Entity Business.

    21            The SEC Complaint alleges that the Receivership Entities solicited investors to invest their

    22 individual retirement accounts in Turkish Eurobonds. The Receiver has not located any evidence

    23 that any Turkish Eurobonds were purchased with investor funds. The Receiver has recovered

    24 some computerized presentations likely used in connection with the solicitation of investments in

    25 the Receivership Entities. As noted throughout this Report, the Receiver's document recovery

    26 efforts are incomplete and ongoing.

    27            On March 10, 2010 at approximately 3:00 pm,the Receiver arrived at the Illinois offices of

    28 the Receivership Entities. The Receiver initially met with the building manager, arranged for
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     1 security and had security and building maintenance deactivate the electronic key card reader.
     2 Additionally, the Receiver met with all employees, served each employee with a copy of the

     3 Appointment Order, secured the office and made sure that all contents within the office remained
     4 undisturbed. The Receiver explained his role as receiver to the employees and the allegations
     5 contained in the documents filed with the Court by the SEC. In particular, the Receiver reiterated
     6 that none of the allegations had been proven and the Receiver was neutral. Pribilski made very few

     7 comments, and most employees seemed very surprised by all of the events. Some of the

     8 employees stated that they suspected something was wrong and they were not surprised by the
     9 SEC allegations. The Receiver obtained written job descriptions and phone numbers of all
    10 employees present. Lastly, the Receiver began to review the books and records in the Illinois
    1 1 office, and he focused on Pribilski's office. The Receiver also worked closely with Crowe
    12 Horvath, his forensic CPA firm to begin the process of reviewing records to search for evidence

    13 offunds available to remit returns to investors. Other than receipts from investors, the Receiver
    14 did not locate any source of revenue to provide returns to investors. The Receiver will return
    I S possession of the offices to the landlord, in order to reduce any administrative claims to the
    16 receivership estate and it will be necessary to seek court approval to sell a vehicle, furniture and
    17 other personal property. Finally, once all computer hard drives are imaged and forensic copies are

    18 provided to government authorities, the imaged drives will be reviewed by the Receiver and his
    19 staff. There are approximately 50 hard drives to review.
    20            Also on March 10, 2009, the Temporary Receiver assumed possession and control of the

    21 premises located at 2121 Avenue of the Stars, Suite 2970, Los Angeles, California 90067("Los
    22 Angeles Office") through his receivership administrator and counsel Byron Z. Moldo ("Moldo")

    23 of Ervin Cohen &Jessup LLP ("ECJ"). At the time of their entry to the Los Angeles Office the
    24 Temporary Receiver's administrator and Moldo discovered an office with seven (7) employees.
    25 None of the individual defendants were present at the Los Angeles Office at the time the
    26 Temporary Receiver assumed possession and control. On behalf of the Temporary Receiver
    27 Moldo informed the employees in the Los Angeles Office of the appointment of the Temporary
    28 Receiver, served each individual with a copy ofthe Court's March 9, 2010 temporary restraining


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      1 order, obtained contact information, and requested that each employee immediately leave the Los
     2 Angeles Office. While the employees were still present at the Los Angeles Office and gathering         ~

     3 their personal belongings Moldo and the Temporary Receiver's administrator inspected the Los
     4 Angeles Office and discovered files containing estate planning documents of clients of defendants,
     5 but no financial documents were located. Discussions with employees of defendants indicated

     6 that the primary business location of defendants was in Illinois, and that the Los Angeles Office
     7 was primarily used to arrange and conduct seminars for prospective clients. The Temporary
     8 Receiver through his agents arranged for all appointments with clients for the coming week to be
     9 cancelled.
     10            At the time possession and control of the Los Angeles Office was acquired Moldo met

     1 1 with Mary.Der-Parseghian ("Der-Parseghian"), who identified herself as a consulting attorney for
     12 defendants. Later, and after having reviewed documents in the Los Angeles Office, Moldo located
     13 a document signed by Der-Parseghian as an employee of defendants. On March 11, 2010 Moldo
     14 again met with Der-Parseghian at the Los Angeles Office and explained that he located a
     15 document that she signed as an employee of defendant. Moldo further stated that based on

     16 instructions from the Temporary Receiver she would be required to vacate the Los Angeles Office.
     17 Der-Parseghian stated that, in addition to her work for the defendants, she maintained clients and
     18 files that had no connection or relationship to defendants. Moldo instructed Der-Parseghian to
     19 segregate any files or documents that she contended had no relationship to this matter, and Moldo
     20 or a representative of the Temporary Receiver would review those files and documents before
     21 Der-Parseghian could remove them from the Los Angeles Office. On March 11, 2010, Peter

     22 Davidson("Davidson") of ECJ reviewed the files and documents segregated by Der-Parseghian
     23 and allowed her to remove certain documents and files that had no relationship to this matter.
     24            Moldo, Davidson, and the Receiver's administrator reviewed the files, offices, and other

     25 documents in the Los Angeles Office. Many of the documents therein refereed to or made

     26 reference to Cruzar Funds, an entity which appeared to be recently formed by defendants and
     27 intended to be an investment vehicle for individuals or entities. Moldo and Davidson also
     28 discovered that a deposit of approximately $ 75,000 was paid to Swisshotels by the entity Bridge
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      1 Forum LLC("Bridge") for a conference intended to be conducted in Instanbul, Turkey in

     2 September, 2010. The Receiver located a document that Bridge maintained a bank account at

      3 HSBC Bank ("HSBC"). The Temporary Receiver, through ECJ, notified HSBC,in writing, of his

     4 appointment and provided HSBC with a copy of this Court's March 9, 2010 temporary restraining

      5 order, and instructed HSBC to immediately "freeze" any accounts of the defendants, and Bridge,

     6 and to forward the balance offunds to the Temporary Receiver. During a March 16, 2010

      7 telephone conversation with an HSBC representative Moldo was informed that less than $ 500.00

      8 remained in the Bridge account.

      9            While reviewing the books and records at the Los Angeles Office Moldo and Davidson

     10 discovered documents indicating that Marlali Property Investment Company, LLC ("Marlali")

     1 1 owned or possessed interests in several operating restaurants that conducted business under the

     12 names of Gulen's Mediterranean ("Gulen's") and Anthony's NY Deli ("Anthony's"). Based on

     13 discussions with Der-Parseghian, Moldo and Davidson were informed that Marlali owned

     14 restaurants located in the Century City Mall and Topanga Mall. On March 11, 2010 Moldo and

     15 Davidson visited the Century City Mall and found that Gulen's was no longer operating. The

     16 Temporary Receiver has subsequently discovered that Anthony's is no longer operating in the

     17 Topanga Mall, and Marlali recently entered into a management agreement with a third party to

     18 operate Gulen's in the Topanga Mall. The Temporary Receiver has received and reviewed

     19 correspondence including athree-day notice to pay rent or quit from Westfield, the owner of both

     20 the Century City and Topanga Malls, claiming that Marlali failed to pay the required rent. The

     21 Temporary Receiver has not yet reviewed the leases or rental agreements that Marlali previously

     22 executed with Westfield for the Gulen's and Anthony's restaurants. Further, the Temporary

     23 Receiver has not had sufficient time to review the Marlali books and records to determine whether

     24 or not the Gulen's or Anthony's restaurants are profitable or not. The Temporary Receiver

     25 through ECJ has notified Westfield of his appointment and provided Westfield with a copy of the

     26 Court's March 9, 2010 temporary restraining order.

     27            While Davidson was supervising Der-Parseghian's removal of her third party client files

     28 from the offices, Davidson inquired as to any pending litigation the parties in receivership were
                                                           9

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     1 involved in. Der-Parseghian indicated that USA was not involved in any pending litigation but it
     2 recently settled two actions. One with the Kralls, which was settled by a lump sum payment in
     3 November,2009 of$591,202, and one with the Orhans. Some documents relating to the litigation
     4 are in the Los Angeles Office but have not yet been reviewed. Der-Pazseghian indicated that one

     5 ofthe matters settled for the return to plaintiffs of their money. In the other matter Der-Parseghian
     6 believed that the plaintiffs received more than they invested. Although there is no pending
     7 litigation with regard to USA Der-Parseghian indicated there was litigation pending with regard to
     8 Marlali as a result ofits attempts to open restaurants in Washington and in Roseville, California.
     9 She indicated with regard to the Roseville restaurants, which included an Anthony's and a Sultan's
     10 restaurant, the construction of the restaurants was completed and the restaurants opened for
     1 1 approximately a month but were then closed when it was determined they could not be operated
     12 profitably given the traffic in the malls. With regard to the restaurants to be opened in the Everett
     13 mall in Washington and the Sunrise mall in Washington, construction was never completed and
     14 there are substantial sums owed to the contractors and there will also be liability on the leases.
     15
                   S.        Document Review and Analysis.
     16
                   The Receiver and his professionals have started to organize, review, and correlate
     17
          documents and records in order to better understand and document: (1)the structure the
     18
          Receivership Entities and the inflows and outflows offunds within and between the Receivership
     19
          Entities;(2)the business, if any, conducted by the Receivership Entities;(3) those persons or
     20
          entities who may be in possession of Receivership Entity documents, records, or assets; and (4)
     21
          any gaps in the record and additional recommended analytical steps.
     22
                    The Receiver has recovered some monthly bank and brokerage statements (including
     23
          duplicates) for the Receivership Entities. These statements provided inadequate details regarding
     24
          transactions identified (e.g., only a portion of the actual deposit slips, checks, wire transfer
     25
          documents, cashier's checks, etc. underlying the subject transfers have been recovered.) As a
     26
          result, the conclusions expressed in the Initial Forensic Accountant's Report are preliminary and
     27
          may change based upon the recovery of additional information.
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      1            Potentially as a result of the generalized control of the Receivership Entities, and as

      2 preliminarily determined by Crowe, it appears that there was significant commingling of assets

      3 among the Receivership Entities, and that a complete accounting of investor funds or Receivership

      4 Entities assets will betime-consuming and laborious.

      5            The financial documents reviewed by Crowe do provide some insight into the financial

      6 activity of the Receivership Entities, and seem to indicate that millions of dollars were transferred

      7 to Marlali and Turkey from the Receivership Entities.

      8            C.       Initial Impressions of the Business of the Receivership Entities.

      9            T'he documents obtained to date create the impression that:

     10                 • The Receivership Entities did not possess assets from which income could be

     11                     derived to pay their investors;

     12                 • Distributions to investors may have been made from funds recovered by later

     13                     investors;

     14                 • There was significant commingling of assets among the Receivership Entities; and

     15                 • Significant funds were utilized by the Receivership Entities to engage in the

     16                     initiation and operation of several restaurants, none of which appear at this time to

     17                     be profitable; and

     18            Because the Receiver's investigation and document recovery efforts axe ongoing, the

     19 conclusions presented are tentative, and may require modification after further investigation and

    20 consideration.

    21 V.          CREDITORS AND CLAIM AMOUNTS.

     22            At this state of his investigation, the Receiver is unable to identify all investors and

     23 creditors ofthe Receivership Entities or to determine their alleged respective claims. Specifically,

     24 a reliable investor database has not yet been discovered, analyzed, or created. As a result, the

    25 Receiver defers to a subsequent report any discussion of creditors, claim amounts, and a claims

     26 process or plan for distribution. The Receiver maintains his website, www.fedreceiver.com, in

     27 order to enable investors and/or creditors to register with the site, thereby providing an additional

     28 source of information to develop an investor/creditor list.
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      1 ~'I.      RECOMMENDED FURTHER INVESTIGATION AND ACTIVITIES.

     2            The Receiver's efforts to recover relevant Receivership Entity documents and records are

      3 ongoing, and the materials obtained to date do not provide a complete understanding of the
     4 Receivership Entities' history and financial activities, or the location and amounts of remaining

      5 Receivership Assets. In part, the Receiver's document recovery efforts have been hampered by
     6 Mueller not yet delivering books and records of the Receivership Entities, and the defendants
      7 failure to provide the Court with an accounting of their assets, as required by the Appointment
      8 Order.

     9            In the near term, the Receiver and his professionals will make recommendations in

     10 connection with their efforts to better understand and document the financial condition and
     1 1 activities of the Receivership Entities:
     12           A.        Continue Document Recovery Efforts.

     13           The Receiver's document recovery efforts are incomplete. Crowe is continuing to review

     14 and examine the financial information contained on the computers located at the various business

     15 locations maintained by the Receivership Entities Document Technologies, Inc. continues to scan

     16 documents and computer hard drives in the Illinois office; that process is expected to be complete

     17 by March 25,2010.

     18           The Receiver intends, if necessary, to serve document subpoenas upon additional third

     19 parties believed to be in possession of Receivership Entities documents or assets. Further, the

     20 Receiver reserves the right to depose any individual or entity believed to possess information

     21 relevant to his charge, as defined by the Appointment Order.

     22            B.       Continue Receivership Asset Recovery :Efforts.

     23            As additional documentary evidence is acquired, it may be possible to better identify the

     24 location of outstanding or currently unaccounted for Receivership Assets. Once located, the

     25 Receiver will proceed with recovery efforts, including the initiation of claims against third parties

     26 in possession of Receivership Assets.

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      1            C.        Maintain and Expand Lists of Individuals and :Entities of Interest.

     2             Investors in the Receivership Entities have provided the Receiver with unsolicited

     3 information regarding additional business ventures allegedly overseen or managed by the
     4 defendants or other affiliated individuals or entities. A complete and evolving database relating to

      5 these individuals and entities could prove an invaluable tool in uncovering and accounting for

     6 additional Receivership Assets.

      7 VII.       CONCLUSION.

      8            Based on the Receiver's preliminary investigation and findings as described above, the

     9 Receiver recommends and requests that the Court order that the receivership continue pursuant to

     10 the Appointment Order and any supplemental orders issued by the Court. The Receiver requests

     I 1 that the Court approve his continuing investigation and this Interim Report.

     12 Dated: MarchJ~~!201 p

     13
                                                               BY:
     14                                                              PETER A. DAVIDSON
                                                                     ERVIN COHEN & JESSUP LLP
     15                                                              Attorneys for Stephen J. Donell,
                                                                     Temporary Receiver
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          1                                             VERIFICATION
         2
         3               I have read the foregoing FIRST INTERIM REPORT OF TEMPORARY RECEIVER,
         4 1 STEPHEN J. DONELL,and know its contents.
         5.              T am the Temporary Receiver appointed in this action. The matters stated in the foregoing

         6 document are true of my own knowledge.
           .
         7       I declaze under penalty of perjury that the foregoing is true and correct.

         8 '~            Executed on MazchZ~2010,at Los Angeles, California.

         9~
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         10
                                                                                   Stephen J. Donell
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           ,Crowe Horwath,~

     Date: March 17, 2010

     To: Stephen J. Donell, Receiver for USARMS

     From: Howard Grobstein, Crowe Horvath LLP

     Subject: Project Status Update —SEC v. USARMS, Francois Durmaz, et al.


     The purpose of this memo is to provide the Receiver a summary of our preliminary findings from
     our examination of the records at the Oak Brook Terrace, Illinois, Los Angeles and Irvine,
     California locations of USA Retirement Management Services("USARMS")and Marlali Property
     Investment Company LLC ("Marlali")from March 12, 2010 through March 16, 2010.


     BACKGROUND
     We were provided access to documents maintained at USARMS1Marlali's Oak Brook Terrace
     office during the period March 12, 2010 through March 16, 2010, USARMS/Marlali's Los
     Angeles office on March 15, 2010, and USARMS/Marlarli's Irvine office on March 16, 2010. Our
     preliminary findings are based on a review of these documents, primarily those located in the
     office of Robert Pribilski, Managing Partner of USARMS and President of Marlali at the Oak
     Brook Terrace location. We have not yet been provided with electronic general ledger files, a
     complete set of bank statements for all USARMS and Marlali accounts, or copies of checks and
     wires to identify the sources of all deposits and withdrawals. As a result, our findings described
     below are limited to the source documents available to us at USARMS and Marlali's Oak Brook
     Terrace location and subject to change after we examine bank provided records and electronic
     general ledger files.


     USARMS,formerly known as USA Financial Management Services Inc., has been incorporated
     since July 2003 and maintained offices in Oak Brook Terrace, Illinois, Irvine and Los Angeles,
     California. Prior to 2005, the principals, Mahmut "Francois" Durmaz and Robert Pribilski,
     appear to have focused the business on selling insurance policies per documents and manuals
     found at the Oak Brook Terrace office'. Sometime in 2004, USARMS began receiving funds
     from clients to invest. The earliest copy of an investment check we located is September 13,


     1 Documents were found listing Francois and Robert as sales agents of American Republic Insurance Company.

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     2004 (see Exhibit 1).          The $25,000 check agrees to a handwritten schedule of client
     investments we located in Robert Pribilski's office (see Exhibit 2).


     In addition to the receipt of funds directly from clients, USARMS began receiving funds from
     Entrust IRA Services Inc. ("Entrust"), by directing their clients to invest their Individual
     Retirement Accounts ("IRA"s) with Entrust and then transferring the funds from Entrust to
     USARMS for investment.              Per the investor declarations in the Security and Exchange
     Commission ("SEC") complaint, USARMS told investors their money would be invested in
     Turkish Eurobonds. When the client's funds was transferred either directly to USARMS or
     through the Entrust IRA transfers, promissory notes were executed from USARMS to the client
     directly(see Exhibit 3)or from USARMS to Entrust, for the benefit of the client(see Exhibit 4).


     Marlali began operations in February 2006 per a description of the Company we noted in the
     Marlali December 31, 2007 unaudited financial statementsZ (see Exhibit 5). Robert Pribilski is
     noted as the president of Marlali, Francois Durmaz as the Chief Executive Officer, and Umit
     "Jeff" Pecen as the Chief Financial Officer. Marlali is referred to as an "affiliated company of
     USA Financial Management Services, Inc. (d/b/a USA Retirement)." The December 31, 2007
     financial statements also note that the company has a subsidiary Turkish company, Marlali
     Gayrimenkul Yatirimlari A.S., which is 100% owned by Malari. Further, the financial statements
     state that:


             "Marlali (USA and Turkey) is primarily involved in real estate development and
             other diversified businesses. One of the reasons we established Marlali (USA)
             was to make interim capital transfers to our Turkish company comply with
             Turkish banking and property ownership laws... Total investment is now a little
             bit over $12.5 million Dollars for Turkey subsidiary company. The major project
             will have about 514 luxury condos-apartment complex with a shopping center in
             Adana region, Turkey. Its projected investment is about 40 to 45 million US
             dollars in the next 4 years."[sic]

     We also noted that the Marlali December 31, 2007 balance sheet "budget overviewo3 reports
     "Buildings to Reny' in the amount of $36.4 million and a liability "Due to USA Financial" of
     a pproximately $40 million. We are unable to corroborate the purported transfers from USA to

     Z An audit report is included listing the CFO as the auditor. This would not be appropriate under United States
     Generally Accepted Auditing Standards. Additionally, the audit report states a different entity's name, not Marlali.
     3 We were not able to determine whether the amounts on the Marlali balance sheet or profit and loss statement were
     actual amounts or budgeted amounts.

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     Marlali that would have resulted in the $40 million "Due to USA" at December 31, 2007 as
     banking records for Marlali prior to 2008 were not located in the records at USARMS/Marlali
     locations.


     PRELIMINARY FINDINGS

     1. Overview of USARMS —Sources and Uses

     The table below summarizes our preliminary findings of sources and uses for USARMS'
     account #1610010247 located at Harris Bank from June 1, 2008 through February 28, 2010, the
     statements found at USARMS'Oak Brook Terrace location.


             USA Financial Management Services -Harris Account #0247
             June 1, 2008 to February 28, 2010


             Sources of Funds:(See Exhibit A for details)
             Wires from Entrust IRA SeMces                              $    9,905,880    50.8%
             Deposits from Non-IRA Clients                                   2,466,080    12.7%
             Other Sources                                                     175,000     0.9%
             Transfers irom Marlali                                             85,000     0.4%
             Unidentified Sources of Funds                                   6,856,699    35.2%
                                                                            19,488,659   100.0%

             Uses of Funds:(See Exhibit B for details)
             Transfers to Marlali Property Investment Co. LLC                4,653,709    23.5%
             Transfers /Checks to Entrust IRA Senrices                       3,225,393    16.3%
             Transfers /Checks to Clients -Principal Repayments              2,286,969    17.5%
             Other Uses of Funds (includes Checks to "Cash")                 1,427,681     7.2%
             Transfers /Checks to "Francois" Mahmut Durmaz                   1,146,029     5.8%
             Transfers /Checks to USARMS's Chase Account #0342                 120,000     0.6%
             Transfers Giray I. Durmaz                                          81,000     0.4%
             Unidentified Uses of Funds                                      6,868,460    34.7%
                                                                            19,809,240   100.0%

                  Sources less Uses                                     $    (320,581)



      In the above table, we summarized the total sources of funds (i.e. clients' contributions from
      IRAs at Entrust, client transfer of funds directly to USARMS, transfers from Marlali and other)
     and total uses of funds (i.e. transfers to Marlali, disbursements of interest and/or principal made
     to Entrust IRA Services on behalf of various clients, disbursements of principal and interest
      made directly to clients, disbursements made to Mahmut "Francois" Durmaz, to USARMS


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     Chase's account, and others).(see Exhibits A and B for additional detail) The total sources are
     approximately $19.5 million and total uses are approximately $19.8 million during the period
     June 2008 to February 2010. At the end of February 2010, the USARMS' Harris Bank account
     had a balance of $182,778.


     Sources


     EnfrusblRA Transfers
     We identified a total of $9.9 million, or 50.8% of the total source of funds, were incoming wires
     from Entrust, the entity to which certain USARMS clients transferred their IRAs. We traced
     each incoming deposit to wire confirmations. We noted that "for the benefit" (FOB) with the
     name of the investor was included on each wire confirmation and a reference to "Note
     Purchase" was written on the majority of these wire confirmations. From a review of a sample
     of client files found at USARMS'Oak Brook Terrace office, we noted that promissory notes were
     written from USARMS to Entrust, "FBO "client name") when the funds transfer involved an
     individual clients IRA account. (see Exhibit 4).


     Direct Clienf Transfers
     We identified deposits from non-IRA (non-Entrust) clients totaling $2.5 million, or 12.7% of the
     total source of funds.


     The majority of these deposits were comprised of contributions from two clients:
        • George &Katherina Papadopoulos transfer to USARMS of $1.2 million on November 17,
             2009. We noted a signed Promissory Note dated November 10, 2009 bearing interest at
            8.35% per annum in their file.
        • Miguel Sotomayor and Maria AB Living Trust transfer to USARMS of $700,000 on
             December 18, 2009. We noted a signed Promissory Note dated December 18, 2009
             bearing interest at 4.75% per annum in their file.


     We also located a list of handwritten investment deposit listing for the period 2004 through 2007
     with corresponding copies of deposit slips and checks that had been deposited in Robert
     Pribilski's office.(see Exhibit 2). We noted that the deposits consisted of personal checks made
     payable to "USA Financial Management Services" from various clients. From a sample of client
     files reviewed, when a client made a transfer of funds directly to USARMS (not through Entrust),
     the promissory note was executed from USARMS to the client.(see Exhibit 3).


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     Unidentified Deposits
     Due to a lack of bank documentation for items noted as "Teller Deposits" on the bank
     statements, we noted unidentified deposits in the amount of $6.9 million.


     Other Sources
     Miscellaneous deposits totaling $175,000 consisted of a deposit in January 2009 for $50,000
     from the State Bar of California, an "Item Charged Back" in March 2009 for $100,000, and a
     reimbursement from Mahmut "Francois" Durmaz in June 2009 for $25,000.


     During our review and analysis of the USARMS Harris bank statements for the period June 1,
     2008 through February 28, 2010, we did not identify any international incoming wire transfers or
     investment deposits related to Turkish Eurobonds or any other type of investment vehicle that
     could have been used to make interest or principal payments to USARMS'clients.


     Uses


     Marlali
     We identified $4.7 million, or 23.5% of the total uses of funds, as transfers made to Marlali in the
     form of wire transfers, checks or debit memos. We traced each disbursement to the
     corresponding deposit on the Marlali bank statements for the period in which we had bank
     statements for each entity(June 2008 through February 2010). A detailed analysis of the use of
     these funds is described in the Marlali section of this report.


     Entrusf
     The second largest use of funds, in the amount of $3.2 million, or 16.3% of the total uses of
     funds, consisted of disbursements made to Entrust IRA Services in the form of checks for the
     clients that made their contributions through their IRAs. Based on the notes included on the
     face of the checks, the payments were primarily for interest. (see Exhibit 6 for an example of
     this disbursement) Occasionally, the Entrust payments included principal payments. Based on
     the documentation reviewed, it appears that USARMS made bulk transfers to Entrust for
     interest and principal payments, for the benefit of individual clients; however, there we could not
     identify a pattern for the payments. One month might include three payments to Entrust and the
     next month 20 payments.


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     Principal Payments —Direct Investors
     We identified $2.3 million, or 11.5% of the total uses of funds, of principal repayments on the
     promissory notes which were made directly by USARMS to its clients. The largest principal
     repayments we identffied were:
         • Mehmet and Susan Orhan —multiple payments totaling $950,000 in December 2009.
         • Dolores and Edward Krall - $591,000 in November 2009.
          • Fatma B. Ogutcu -multiple payments totaling $408,980 between March 2009 and
               December 2009.


     During our review of the bank statements, we also noted multiple checks made payable to
     USARMS's clients for interest payments on outstanding promissory notes. These interest
     payment checks usually ranged between $1,000 and $3,500 each.


     Mahmut "Francois"Durmaz
     We identified $1.1 million, or 5.8% of the total uses of funds, in transfers and payments made to
     Mahmut "Francois" Durmaz. These disbursements took the form of checks made payable to
     him and wire transfers to his personal bank account at Harris Bank. Handwritten notes on the
     face of the checks included: "loan", "bonus","payroll" and "loan for divorce settlement'.


     Other Uses
     We identified other uses of funds totaling $1.4 million, or 7.2% of the total uses of funds, which
     included the following:
        • Check dated October 1, 2008 in the amount of $625,000 for an escrow payment to
             "Sequoia Avenue LLC" with a notation "Orhan, Jim Vogt, Marlene Vogt, Bob Vogt
             Transi". Based on documentation reviewed, Sequoia Avenue LLC appears to be an
             entity that was created to purchase a building located at 375 Sequoia Avenue, Ontario,
             California with some of USARMS' clients (Orhan and Vogt Family)4. The documentation
             indicated that the deal was never consummated and that the approximate amount of the
             October 1, 2008 escrow payment ($621,600 was actually returned) was re-deposited in
             Marlali on October 9, 2008. We traced that deposit to Marlali's October 2008 bank
             statement.(see Exhibit 7)
        • Checks paid to Robert Pribilski totaling at least $101,000. Notations such as "loan for
             Westmount Apart Deal", "loan repayment", and "loan repay #3 in full" were noted on the

     4 We noted that the mortgage broker for the transaction was listed as John Burns, a current employee of USARMS.

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             checks. Additional checks of smaller denominations were also made to Mr. Pribilski
             during the June 2008 through February 2010 time frame; however, we limited our review
             to checks over $10,000 for purposes of this preliminary report.
        • Checks totaling $107,000 were made payable to "Cash".
        • Transfer dated February 3, 2010 for $75,000 to Bridge Forum LLC located at 2121
             Avenue of the Stars, Ste 2970, Los Angeles, CA 90067 (same address as USARMS's
             Los Angeles office) with the note "Loan: Swissotel deposits".(see Exhibit 8}
        • Check dated January 15, 2010 in the amount of $35,000 paid to John Pawley with the
             mention "loan" and check dated January 19, 2010 for $35,000 paid to Lori Pawley with
             the mention "loan against investments".
        • Check dated December 4, 2009 for $27,561 paid to Audi Financial Service for the loan
             payoff of a 2007 Audi. USARMS was noted as the original purchaser on the bill of sale,
             however, we found a "Car Bill of Sale" stating that this car was sold by Robert
             Pribilski/USARMS to Francois "Mahmut" Durmaz on January 20, 2010 for $2,000. (see
             Exhibit 9)


     Chase Account
     We identified a total of $120,000 of checks made payable to USARMS for transfers to a Chase
     Bank account #651170342. The total deposits in the Chase account from June 2008 through
     February 2010 totaled approximately $210,000. Based on a preliminary review of the activity
     included in the Chase statements, the major categories of expenses paid related to airfares,
     hotels, restaurants, public storage, and ATM cash withdrawals.


     Girav Durmaz
     We identified fund disbursements totaling $81,000 disbursed to Giray Irian Durmaz through
     international wire transfers to Turkey and Bank of America account #381010122930. Based on
     an email we found, Giray I Durmaz was represented to be the Fund Manager for Cruzar PEF.
     (see Exhibit 10)


     2. Overview of Marlali —Sources and Uses

     The table below summarizes our preliminary findings of sources and uses of Marlali funds for
     the time period January 2008 through February 2010, the period of Harris Bank statements
     found at the USARMS/Marlali Oak Brook Terrace location:




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                   Marlali -Harris Account #6582
                   January 1, 2008 through February 28, 2010

                    ources of Funds:(see Exhibit C for details)
                   USARMS                                                   $   7,665,431    91.2%
                   Other unidentified Sources of Funds                            739,734     8.8%
                                                                                8,405,165   100.0%

                   Uses of Funds:(see Exhibit D for details)
                   Restaurants                                                  2,156,471    25.8%
                   Real estate                                                  1,138,393    73.6%
                   International wire transfers                                 1,065,000    12.7%
                   Other Marlali bank accounts                                    467,609     5.6%
                   Miscellaneous                                                1,194,546    14.3%
                   Other unidentified wire transfers                            1,677,371    20.0%
                   Unidentified debit memos                                       674,265     8.1%
                                                                                8,373,656   700.0%

                      Souces less uses                                      $      31,509




     In the above table, we summarized the total sources of funds (i.e. transfers from USARMS and
     other) and total uses of funds (i.e. restaurants, real estate, international wire transfers, transfers
     to other Marlali bank accounts, other). The total sources and uses are approximately $8.4
      million during the period January 2008 through February 2010. (see Exhibits C and D for
     additional detail) At the end of February 2010, the Marlali Harris Bank account had a balance of
     $31,727.


     Sources

     We identified $7.7 million or 91.2% of the $8.4 million sources of funds at Marlali were transfers
     from USARMS. Of the $7.7 million transferred from USARMS to Marlali, we were able to trace
     $6.4 million to promissory notes written from Marlali (maker) to USA Retirement (holder). See
      Exhibit 11 for an example of the promissory notes totaling $6.4 million. In addition, another
     $621,600 was a return of an escrow deposit, originally funded by USARMS,for the purchase of
     the Sequoia Ave. property that wasn't consummated (see USARMS narrative for additional
     discussion of this transaction). There was also another $700,000 that were able to identify as
      USARMS transfers by reviewing the USARMS' Harris bank statements.


      The remaining $739,734 of Marlali sources were noted as either "Teller Deposits" or "Credit
      Memos" on the bank statements; however, we were not able to locate additional bank support
     for these deposits and credit memos to identify the source of these funds.

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     We were able to trace 100% of the USARMS source of funds from Marlali's Harris account
     statements to the USARMS' Harris account statements for the period June 1, 2008 through
     February 28, 2010.


     Uses


     Restaurants
     The largest use of Marlali funds, in the amount of $2.2 million, for the period January 1, 2008
     through February 28, 2010, was for investments in restaurants. While we are not able to
     identify the exact number of restaurants that Marlali was operating, the number of restaurants
     could be as high as 16 locations in California and Washington based on documentation we
     found. (see Exhibit 12).           We noted a wire transfer in the amount of $969,788 to Gulen
     Enterprises ("Gulen") on May 12, 2008. From documentation reviewed, it appears that this use
     of funds is for a purchase of three restaurants under the Sultan's Fresh Mediterranean and
     Anthony's NY Deli concept which were owned by Gulen.s


     Other significant uses of funds for restaurants included $453,983 for rent for the various
     restaurant locations, $430,078 for restaurant build-out, point of sales computer systems, and
     restaurant supplies, and $302,622 for architect fees (see Exhibit 13).


     Real Estate
     Marlali funds were also used for real estate projects in the amount of at least $1.1 million. The
     largest payments we identified were a $404,884 payoff of a loan with Old Second National Bank
     for an apartment property in Cicero, Illinois, $285,075 for USARMS' California office rents,
     $184,100 for California property taxes, $100,000 for a deposit on a Sequoia property purchase,
     $76,721 principal payment for a Naperville condo and $50,000 for deposits on a property in
     Westmont, Illinois.


     International Wire Transfers
     We identified at least $1.1 million of international wire disbursements from Marlali's Harris
     account during the period January 1, 2008 through February 28, 2010. Two 2008 wire transfer
     requests totaling $200,000 from Marlali to Mehmet Karakus in Turkey were found and we were

     5 Letter dated June 29, 2009 from Robert Pribilski to the California Office of Finance states that Marlali owned "three
     restaurants: one in Century City and two in Topanga. A local law flrm did the original filings as we bought the
     restaurants mid-2008 out of bankruptcy court"

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     able to agree the amounts to the Harris bank statements. (see Exhibit 14). Additionally, we
     found wire transfer requests from both Marlali and USARMS to Turkey totaling $1.5 million in
     2005 and 2006.(see attached Exhibit 15).


     Other Marlali Bank Accounts
     Transfers of at least $467,609 were made from Marlali's Harris bank account to a Marlali Bank
     of America "Disbursement" account #6514.(see Exhibit F for this bank account number). We
     were not able to locate bank statements for this Bank of America account at USARMS'
     locations. See Exhibit 16 for a sample of a wire transfer request to the Marlali Bank of America
     disbursement account.


     Other Miscellaneous
     We identified approximately $1.2 million in other miscellaneous uses of Marlali funds.
     Significant individual payments included $210,000 to an immigration law firm on March 27, 2008
     and April 25, 20086 (see attached Exhibit 17) and $85,000 in transfers to USARMS. Other
     smaller individual payments noted on the check copies attached to the bank statements were
     for expenses of the Cicero and Aurora rental properties and other payments, including mortgage
      payments, property taxes, repairs, association dues and attorney fees.'


      Other Unidentifiable Uses
     Other Marlali uses of funds include $1.7 million for other wire transfers and $674,265 for debit
     memos. We were not able to locate bank documentation to identify the nature of these other
      uses of Marlali funds.


      During our review and analysis of the Marlali Harris bank statements for the period June 1, 2008
      through February 28, 2010, we did not identify any international incoming wire transfers or
      investment deposits related to Turkish Eurobonds or any other type of investment vehicle that
      could have been used to make interest or principal payments to USARMS' clients.




      6 We also noted six payments to the US Citizenship &Immigration Services that cleared the Marlali bank account in
      April 2008(see Exhibit 17).
      ~ For purposes of this preliminary report, individual checks under $10,000 were not reviewed and categorized.

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     3. Other Preliminary Observations
     Orhan Lawsuit

     During our document review in Robert Pribilski's office, we found a large folder labeled Mr. and
     Mrs. Orhan. Among the contents of the file were:


            March 20, 2009 complaint against Robert Pribilski, Francois Durmaz, USARMS and
            Marlali in Cook County, Illinois Circuit Court. The complaint alleges fraudulent
            inducement in the Cicero and Aurora real estate transactions, breach of fiduciary duty
            and demands an accounting of all the Orhan's amounts invested with USARMS
             including IRA funds. The suit demands information regarding $365,000 in Eurobond
             investments that defendants maintain was the investment vehicle for a portion of the
            Orhan's funds.
        • March 2, 2009 correspondence from Orhan's attorney to Mr. Pribilski regarding a
          meeting that took place on February 24, 2009 between the Orhan's, their attorney, Mr.
          Pribilski, Mr. Durmaz and their attorney Roger Carlson. The correspondence mentions
          the request for documentation of the Eurobonds, which Mr. Durmaz was to provide.
        • Handwritten notes listing "Concern:" including "David Hernandez — Ponzi", "SEC —not
          fun","Stress > hurting my Business", and "Media attention —SEC, FBI, etc."
        • June 10, 2009 Mehmet Orhan affidavit in the Cook County lawsuit.
        • An order entered by Judge Richard J. Billik on January 19, 2010 dismissing the case
          after being advised that defendants made the agreed-to $950,000 payment to the
             Orhan's.(see attached Exhibit 18).


     As discussed in the USARMS section above, four payments totaling $950,000 were made from
     USARMS to the Orhan's during the period December 15 — 22, 2009.


     Cruzar Funds
     Based on documentation found at the Oak Brook Terrace office, the USARMS/Marlali principals
     appear to have been in the process of starting a new investment vehicle, Cruzar Funds.
     Excerpts, including the agenda and organizational charts, from a training and conference
     manual for a meeting that presumably took place on December 7-9, 2009 in Los Angeles,
     California are attached as Exhibit 19.


      Marlali Turkey


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     We found an organizational chart listing four Turkish entities as subsidiaries of Marlali and the
     Board of Directors of these entities. (see Exhibit 20) Among the Board of Directors listed are
     Sibel Ince (Francois' wife or girlfriend) and Umit Pecen, who is listed as Marlali's CFO. In
     addition, we have found architectural drawings of a development named Project Adonis, which
     appears to be the major real estate development project of these Turkish entities. (see Exhibit
     21).


     Lisfinq of Possible Assefs/Addifional Bank Accounts
     Based on our document review, we have compiled a list of potential assets that may be owned
     by USARMS, Marlali, Mr. Pribilski and/or Mr. Durmaz and additional bank accounts identified
     during our document review.(see Exhibits E and F).


     Other Financial Difficulties
     During our document review, we noted several instances where there was evidence of the
     financial difficulties of the principals, individually and on a company-wide basis. We found a
     large ale in Robert Pribilski's office which detailed credit difficulties he was having during 2004
     and 2005. Included in the file were multiple letters detailing settlement of debts, attorney
     correspondence re: the same, copies of credit reports and an unsigned Chapter 7 Bankruptcy
     filing.


     We also noted during the first quarter of 2009 that multiple items were being charged back by
     Harris Bank for insufficient funds in USARMS' bank account. Multiple documents were found
     including notices of default, late payments, and court complaints indicating that Marlali was in
     arrears (multiple months) on rent payments for their restaurants located in California. Further,
     we noted that Roseville Shoppingtown LLC (aka Westfield Galleria at Roseville) shutdown one
     of Marlali's New York Deli restaurants on July 31, 2009 for non-payment of rent and filed a
      lawsuit against Mr. Pribilski and Mr. Durmaz for unpaid rent under the lease agreement. Finally,
     there we found additional handwritten notes dated August 6, 2009 which include notations such
     as "Marlali Bankruptcy" and "Double Ch. 11".(see Exhibit 22).




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     1.                                         PROOF OF SERVICE

    2 STATE OF CALIFORNIA                     )
                                                       ss:
    3 COUNTY OF LOS ANGELES                   )

     4           I am employed in the County of Los Angeles, State of California. I am over the age of
          eighteen(18) years and not a party to the within action. My business address is 9401 Wilshire
     5    Boulevard, Beverly Hills, California 90212-2974.

    6             On March 22, 2010, I served the document described as

     7              FIRST INTERIM REPORT OF STEPHEN J. DONELL,TEMPORARY RECEIVER

     8    on counsel for the parties in this action, or on the parties in propria persona, addressed as stated on
          the attached service list:
     9
          [X] BY MAIL: By placing true and correct copies thereof in individual sealed envelopes, with
    10     postage thereon fully prepaid, which I deposited with my employer for collection and mailing by
           the United States Postal Service. I am readily familiar v~nth my employer's practice for the
    11     collection and processing of correspondence for mailing with the United States Postal Service. In
          the ordinary course of business, this correspondence would be deposited by my employer with the
    12     United States Postal Service on that same day. I am aware that on motion ofthe party served,
           service is presumed invalid if postal cancellation date or postage meter date is more than one day
    13     after the date of deposit for mailing in affidavit.

    14 [ ] BY NEXT-DAY DELIVERY: Via Overnite Express. I am readily familiar with my
       employer's practice for the collection and processing of correspondence via Overnite Express. In
    15 the ordinary course of business, this correspondence would be picked up by Overnite Express on
       that same day.
    16
       [X] BY ELECTRONIC TRANSMITTAL: I caused such document to be sent via email to the
    17 following e-mail addresses:

    18            vanhavermaatd@sec.gov
                  mhathaway@weksmanlaw.com
    19            steve.donell@jalmar.com

    20 [ ] BY FACSIMILE: I caused such document to be sent via facsimile to the names and
       facsimile numbers listed above and received confirmed transmission reports indicating that this
    21 document was successfully transmitted to the parties named above.
    22 [ ] (STATE)I declaze under penalty of perjury under the laws ofthe State of California and
           the United States of America that the foregoing is true and correct.
    23
       [X] (FEDERAL)I declare that I am employed in the office of a member of the bar of this
    24     Court at whose direction the service was made.

    25     EXECUTED on Mazch 22, 2010 at Beverly Hills, C.

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